     Case: 23-10326   Document: 127      Page: 1    Date Filed: 05/26/2023


                              No. 23-10326

In the United States Court of Appeals for the Fifth Circuit
                           _____________

Braidwood Management, Incorporated; John Scott Kelley;
Kelley Orthodontics; Ashley Maxwell; Zach Maxwell; Joel
                        Starnes,
                                          Plaintiffs-Appellees/Cross-Appellants,
                                   v.
  Xavier Becerra, Secretary, U.S. Department of Health and
    Human Services, in his official capacity as Secretary of
 Health and Human Services; United States of America; Janet
Yellen, Secretary, U.S. Department of Treasury, in her official
   capacity as Secretary of the Treasury; Julie A. Su, Acting
 Secretary, U.S. Department of Labor, in her official capacity
                    as Secretary of Labor,
                                    Defendants-Appellants/Cross-Appellees.
                           _____________

             On Appeal from the United States District Court
                   for the Western District of Texas
                      Case No. 4:20-cv-00283-O
                          _____________

     Supplemental Memorandum Regarding The
Government’s Motion For Partial Stay Pending Appeal
                           _____________

                                        Jonathan F. Mitchell
                                        Mitchell Law PLLC
                                        111 Congress Avenue, Suite 400
                                        Austin, Texas 78701
                                        (512) 686-3940 (phone)
                                        (512) 686-3941 (fax)
                                        jonathan@mitchell.law

                                        Counsel for Plaintiffs-Appellees
       Case: 23-10326      Document: 127       Page: 2   Date Filed: 05/26/2023




   The government’s motion for partial stay pending appeal predicts that the dis-

trict court’s judgment, unless stayed by this Court, will cause employers and insur-

ers to drop coverage for preventive care required by 42 U.S.C. § 300gg-13(a)(1) dur-

ing the appeal. See Mot. for Partial Stay, ECF No. 19–24. The government also ar-
gues the balance of equities and the public interest support a partial stay pending

appeal because it will ensure continuation of the preventive-care coverage that 42

U.S.C. § 300gg-13(a)(1) currently requires. See id.
   The government, however, neglects to acknowledge that the Affordable Care

Act authorizes and imposes substantial penalties on insurers that fail to comply

with 42 U.S.C. § 300gg-13(a)(1), as well as employers with 50 or more employees

that fail to provide their employees with ACA-compliant health insurance. See 42

U.S.C § 300gg–22; 26 U.S.C. § 4980H. And the district court’s judgment cannot

shield or immunize insurers or employers from these statutory penalties if the

judgment gets vacated or reversed on appeal. See, e.g., Edgar v. MITE Corp., 457

U.S. 624, 653 (1982) (Stevens, J., concurring) (“There simply is no constitutional

or statutory authority that permits a federal judge to grant dispensation from a valid

. . . law.”). All the district court’s judgment can do is restrain the government from

enforcing the relevant provisions of the ACA against Braidwood during the period

of time that the judgment remains in effect. It does not prevent the government

from enforcing the ACA’s statutory penalties after the judgment gets vacated

against those who violated the statute in reliance on the district court’s judgment.

   It is commonly believed that an injunction or declaratory judgment that re-

strains government officials from enforcing a statute operates as a formal suspen-


                                           1
        Case: 23-10326      Document: 127       Page: 3   Date Filed: 05/26/2023




sion of the statute itself and allows individuals to flout the statute without any pos-

sibility of future consequences. See, e.g., Whole Woman’s Health v. Jackson, 141 S.

Ct. 2494, 2498 (2021) (Sotomayor, J., dissenting) (falsely asserting that the federal

judiciary can “enjoin” a “law”); id. at 2499 (falsely claiming that the judiciary can
“enjoin” a legislative “Act”); United States v. Texas, 142 S. Ct. 14, 15 (2021) (So-

tomayor, J., concurring in part and dissenting in part) (same). But the federal judici-

ary has no power to block or enjoin a statute—even a statute that it believes to be
unconstitutional. See Whole Woman’s Health, 141 S. Ct. at 2495 (majority opinion)

(“[F]ederal courts enjoy the power to enjoin individuals tasked with enforcing laws,

not the laws themselves.”); Okpalobi v. Foster, 244 F.3d 405, 426, n.34 (5th Cir.

2001) (en banc) (“An injunction enjoins a defendant, not a statute.”). And the fed-

eral courts have no power to confer immunity or preemptive pardons on those who

violate a statute while an injunction against the statute’s enforcement was in effect.

See Edgar, 457 U.S. at 649 (Stevens, J., concurring) (“[F]ederal judges have no

power to grant such blanket dispensation from the requirements of valid legislative

enactments.”); id. at 648–53 (Stevens, J., concurring); Mitchell v. Riegel Textile, Inc.,

259 F.2d 954 (D.C. Cir. 1958).1



1. See also Douglas Laycock, Federal Interference with State Prosecutions: The Need
   for Prospective Relief, 1977 Sup. Ct. Rev. 193, 209; Thomas W. Merrill, Judicial
   Opinions as Binding Law and as Explanations for Judgments, 15 Cardozo L. Rev.
   64 (1993) (“[S]tatutory provisions that have been declared unconstitutional
   remain part of the code unless or until repealed by the legislature. Indeed, if a
   provision is not repealed by the legislature, and the court later changes its mind
   about the meaning of the Constitution, the provision in question becomes again
   as fully eﬀective and enforceable in court as if it had never been questioned.”);


                                            2
        Case: 23-10326      Document: 127       Page: 4   Date Filed: 05/26/2023




    No rational insurer or employer would violate 42 U.S.C. § 300gg-13(a)(1) dur-

ing this appeal because there is at least a possibility that the Fifth Circuit or the Su-

preme Court might disagree with the district court’s interpretation of the Ap-

pointments Clause or its analysis of the remedial issues, which will expose insurers
and employers to years of accumulated statutory penalties if they violated 42 U.S.C.

§ 300gg-13(a)(1) in reliance on the district court’s judgment. Even Braidwood,

which is a party to this case, is unwilling to change its preventive-care coverage un-
til the conclusion of appeals—even though Braidwood will remain protected by the

judgment under the partial stay that the government is proposing. See Declaration

of Steven F. Hotze, M.D. ¶¶ 7–11 (attached as Exhibit 1).

    If the government fears that some insurers or employers might misunderstand

the district court’s judgment as a formal suspension (in part) of 42 U.S.C. § 300gg-

13(a)(1), then the government can disabuse them of that notion by announcing that

it will pursue statutory penalties against anyone who violates section 300gg-13(a)(1)

if the district court’s judgment is vacated or reversed. See, e.g., Tex. Health & Safe-

ty Code § 171.208(e)(3). The government does not need a stay from this Court to

ensure compliance with 42 U.S.C. § 300gg-13(a)(1) during this appeal.




    Jonathan F. Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev. 933, 986–87
    (2018).


                                            3
      Case: 23-10326     Document: 127       Page: 5   Date Filed: 05/26/2023



                               Conclusion
   The government’s motion for a partial stay pending appeal should be denied.

                                     Respectfully submitted.

                                      /s/ Jonathan F. Mitchell
                                     Jonathan F. Mitchell
                                     Mitchell Law PLLC
                                     111 Congress Avenue, Suite 400
                                     Austin, Texas 78701
                                     (512) 686-3940 (phone)
                                     (512) 686-3941 (fax)
                                     jonathan@mitchell.law

Dated: May 24, 2023                  Counsel for Plaintiffs-Appellees




                                         4
       Case: 23-10326     Document: 127       Page: 6   Date Filed: 05/26/2023



                        Certificate Of Service
    I certify that on May 24, 2023, this document was electronically filed with the
clerk of the court for the U.S. Court of Appeals for the Fifth Circuit and served
through CM/ECF upon:

Michael S. Raab
Alisa B. Klein
Daniel Aguilar
Attorneys, Appellate Staff
Civil Division
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530
(202) 514-5432
michael.raab@usdoj.gov
alisa.klein@usdoj.gov
daniel.j.aguilar@usdoj.gov

Counsel for Defendants-Appellants

                                     /s/ Jonathan F. Mitchell
                                    Jonathan F. Mitchell
                                    Counsel for Plaintiffs-Appellees




                                          5
      Case: 23-10326     Document: 127        Page: 7    Date Filed: 05/26/2023



                      Certificate of Compliance
              with type-volume limitation, typeface requirements,
                          and type-style requirements

1.   This brief complies with the type-volume limitation of Fed. R. App. P.
     27(d)(2) because it contains 847 words, excluding the parts of the brief ex-
     empted by Fed. R. App. P. 32(f ).

2.   This brief complies with the typeface and type-style requirements of Fed. R.
     App. P. 27(d)(1)(E), 32(a)(5), and Fed. R. App. P. 32(a)(6) because it uses
     Equity Text B 14-point type face throughout, and Equity Text B is a propor-
     tionally spaced typeface that includes serifs.



                                              /s/ Jonathan F. Mitchell
                                             Jonathan F. Mitchell
Dated: May 24, 2023                          Counsel for Plaintiffs-Appellees




                                         6
       Case: 23-10326     Document: 127       Page: 8   Date Filed: 05/26/2023



            Certificate of Electronic Compliance
    Counsel also certifies that on May 24, 2023, this brief was transmitted to Mr.
Lyle W. Cayce, Clerk of the United States Court of Appeals for the Fifth Circuit,
through http://www.pacer.gov.
    Counsel further certifies that: (1) required privacy redactions have been made,
5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper doc-
ument, 5th Cir. R. 25.2.1; and (3) the document has been scanned with the most re-
cent version of VirusTotal and is free of viruses.



                                           /s/ Jonathan F. Mitchell
                                          Jonathan F. Mitchell
                                          Counsel for Plaintiffs-Appellees




                                          7
Case: 23-10326   Document: 127   Page: 9   Date Filed: 05/26/2023




                 Exhibit 1
DocuSign Envelope ID: 988D3562-BBDB-423D-85DD-566274B1E527
                       Case: 23-10326         Document: 127      Page: 10     Date Filed: 05/26/2023



                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE FIFTH CIRCUIT


                  Braidwood Management Inc., et al.

                                       Plaintiffs-Appellees,
                                                                    Case No. 23-10326
                  v.

                  Xavier Becerra, et al.,

                                       Defendants-Appellants.


                                DECLARATION OF STEVEN F. HOTZE, M.D.
                       I, Steven F. Hotze, declare as follows:
                       1.    My name is Steven F. Hotze. I am over 21 years old and fully competent to
                 make this declaration.
                       2.    I have personal knowledge of each of the facts stated in this declaration, and
                 everything stated in this declaration is true and correct.

                       3.    I am President, Secretary, Treasurer, and sole member of the board of Braid-
                 wood Management Inc., a plaintiff-appellee in this lawsuit.
                       4.    Braidwood Management Inc. employs approximately 70 individuals, and it
                 provides health insurance to those employees through a self-insured plan.

                       5.    On March 30, 2023, the district court entered a final judgment declaring
                 that 42 U.S.C. § 300gg-13(a)(1) violates the Appointments Clause to the extent it
                 empowers the U.S. Preventive Services Task Force to unilaterally determine the pre-
                 ventive care that private insurers must cover without cost-sharing arrangements. See
                 ECF No. 114. The final judgment also holds unlawful and sets aside (i.e., vacates) all
                 agency rules and actions taken to implement the binding recommendations from the
                 U.S. Preventive Services Task Force that were assigned an “A” or “B” rating after
                 March 23, 2010. See id. To the extent that the district court vacated those agency




                    .                                                   Page 1 of 3
DocuSign Envelope ID: 988D3562-BBDB-423D-85DD-566274B1E527
                     Case: 23-10326           Document: 127   Page: 11     Date Filed: 05/26/2023




                 actions across the board, it awarded a universal remedy that extends relief beyond the
                 named parties to this lawsuit.

                     6.    The government has appealed the district court’s judgment and it is asking
                 this Court to stay the judgment in part pending appeal. Specifically, the government
                 wants the judgment stayed to the extent it provides relief that extends beyond the
                 named plaintiffs. The government is content to allow the judgment to protect Braid-
                 wood from the enforcement of 42 U.S.C. § 300gg-13(a)(1) and the vacated agency
                 rules while the appeal proceeds.
                     7.    I have not yet changed Braidwood’s self-insured plan in response to the dis-
                 trict court’s ruling, even though I want to exclude or limit coverage of some of the
                 preventive care that is currently compelled by the U.S. Preventive Services Task Force.
                 The Affordable Care Act requires Braidwood to offer ACA-compliant health insur-
                 ance to its employees or face heavy financial penalties. See 26 U.S.C. § 4980H. The
                 district court’s judgment cannot shield or immunize Braidwood from these statutory
                 penalties if the judgment gets vacated or reversed on appeal. All the district court’s
                 judgment can do is restrain the government from enforcing the relevant provisions of
                 the ACA against Braidwood for as long as that judgment remains in effect. It does
                 not confer a preemptive pardon or immunity on Braidwood if the government wins
                 its appeal, and it does not stop the government from enforcing the ACA’s statutory
                 penalties after the judgment gets vacated against those who violated the statute while
                 the judgment was in effect.

                     8.    Although I believe that the district court’s ruling is sound and has a good
                 chance of surviving the government’s appeal in the Fifth Circuit and the Supreme
                 Court of the United States, I am far from certain that it will be affirmed, and I cannot
                 take the risk that the Fifth Circuit or the Supreme Court will interpret the Appoint-
                 ments Clause differently and vacate or reverse the district court’s judgment. If that
                 were to happen, Braidwood would be exposed to years of statutory penalties under


                    .                                                Page 2 of 3
DocuSign Envelope ID: 988D3562-BBDB-423D-85DD-566274B1E527
                     Case: 23-10326           Document: 127    Page: 12    Date Filed: 05/26/2023




                 section 4980H if it fails to provide the preventive-care coverage mandated by 42
                 U.S.C. § 300gg-13(a)(1).

                     9.     The government, to my knowledge, has not made any promise or binding
                 commitment not to seek statutory penalties against employers who violate 42 U.S.C.
                 § 300gg-13(a)(1) while the district court’s injunction remains in effect.
                     10. If the Supreme Court affirms the district court’s ruling in relevant part or if
                 it denies certiorari from a ruling of this Court that affirms the district court, then I
                 will change Braidwood’s self-insured plan to exclude or limit coverage of preventive
                 care that I do not want to provide, or that I am unwilling to provide without cost-
                 sharing.
                     11. I have no intention of changing Braidwood’s self-insured plan until the ap-
                 peals process in this litigation becomes final, or until the government makes a legally
                 enforceable commitment not to seek statutory penalties against Braidwood (and oth-
                 ers) who violate 42 U.S.C. § 300gg-13(a)(1) in reliance of the district court’s judg-
                 ment.


                      This concludes my sworn statement. I declare under penalty of perjury that the
                 foregoing is true and correct.


                          5/25/2023
                 Dated: ____________                          ____________________________________
                                                              S F. H, M.D.




                    .                                                Page 3 of 3
